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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. LA CV 23-04150-MEMF-(MRWx): Date December 14, 2023

Title Mayanna Berrin v. Delta Air Lines Inc.

PRESENT: HONORABLE MAAME EWUSI-MENSAH ERIMPONG,
UNITED STATES DISTRICT JUDGE

Daniel Tamayo C/S 12/14/2023
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
Jonathan Haderlein, Krikor Kouyoumdjian David Balser, Michael Roth
PROCEEDINGS: Motion to Dismiss Case the First Amended Complaint filed by
Defendant Delta Air Lines Inc. [22]

Case is called and counsel make their appearances. Motion hearing is held. The Court
hears oral argument from the parties. For the reasons stated on the record, the Court takes the
Motion under submission.

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Initials of Deputy Clerk dt

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